        Case 1:22-cr-02043-SMJ       ECF No. 8   filed 05/16/22   PageID.12 Page 1 of 1




 1
                                                                                 FILED IN THE
                                                                             U.S. DISTRICT COURT
 2                                                                     EASTERN DISTRICT OF WASHINGTON




 3
                                                                       May 16, 2022
                                                                            SEAN F. MCAVOY, CLERK


 4

 5                       UNITED STATES DISTRICT COURT

 6                     EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                        No. 1:22-CR-02043-SMJ

 8                      Plaintiff,                    ORDER GRANTING UNITED
                                                      STATES’ MOTION TO ISSUE
 9   vs.                                              WRIT OF HABEAS CORPUS AD
                                                      PROSEQUENDUM
10   MARCELO ANTHONY BENSON,
                                                      ECF No. 7-1
11                      Defendant.

12         Before the Court is the United States’ Motion for Writ of Habeas Corpus Ad

13   Prosequendum (ECF No. 7-1). For the reasons set forth in the Motion;

14         IT IS ORDERED:

15      1. The United States’ Motion to Issue Writ of Habeas Corpus Ad

16   Prosequendum (ECF No. 7-1) is GRANTED.

17      2. A Writ of Habeas Corpus Ad Prosequendum shall be issued.

18         DATED May 16, 2022.

19                               s/Mary K. Dimke
                                MARY K. DIMKE
20                       UNITED STATES DISTRICT JUDGE


     ORDER GRANTING UNITED STATES’ MOTION TO ISSUE WRIT OF
     HABEAS CORPUS AD PROSEQUENDUM - 1
